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IN THE UNITED STATES DISTRICT COURT FI!.ED» §E.T,V@/ `
FOR THE WESTERN DISTRICT OF TENNESSEE " ` "

 

 

WESTERN DIVISION 05 gng y _3 PH :i_ 29
UNITED STATES OF AMERICA )
Plaintiff, ))
VS § CASE NO. 04-20197-D
RUBEN VALDEZ ))
Defendant. ))
)

 

ORDER TO SURRENDER

 

The defendant, Ruben Valdez, having been sentenced in the above case to the custody of
the Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to FCI THREE RIVER
SCP, P.O. BoX 4000, Three Rivers, Texas 78071 by 2:00 p.m. on TUESDAY, MAY 31, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign
one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-

addressed envelope, acknowledging that he/’she has received a copy of this Order, and that he/she will

report as ordered to the facility named above.

ENTERED this th§¢day of May, 2005.

 

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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed:

 

Defendant

Date:

 

ISTRICT COURT - WE'T'RN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 139 in
case 2:04-CR-20197 vvas distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

